                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                 SALISBURY DIVISION

CANDY FRYE,                                   )
                                              )
       Plaintiff,                             )
                                              )       No. 1:10-cv-957
       vs.                                    )
                                              )
BUREAU OF COLLECTION                          )
RECOVERY, LLC,                                )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                          COMPLAINT

       NOW COMES the Plaintiff, CANDY FRYE, by and through her attorney, M. LYNETTE

HARTSELL, and for her Complaint against the Defendant, BUREAU OF COLLECTION

RECOVERY, LLC, Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq., and the North

Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts from

Consumers Statute, N.C. Gen. Stat. § 58-70-90, et seq.

                                JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.




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                                              PARTIES

        3.     Plaintiff is an individual who was at all relevant times residing in China Grove,

North Carolina.

        4.     Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3) and N.C. Gen. Stat. §

58-70-90(2), as she is a natural person allegedly obligated to pay a debt.

        5.     At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6) and as a “collection agency” within the meaning of N.C. Gen. Stat. § 58-

70-90(1), in that it held itself out to be a company collecting a consumer debt allegedly owed by

Plaintiff.

        6.     On information and belief, Defendant is a corporation of the State of Minnesota,

which is note licensed to do business in North Carolina and which has its principal place of

business in Eden Prarie, Minnesota.

                                              COUNT I

                       (Violation of the Fair Debt Collection Practices Act)

        7.     On or about August 23, 2010, Defendant mailed a letter to Plaintiff in an attempt

to collect the aforementioned alleged debt.

        8.     In the said letter, Defendant falsely stated the “principal balance” as $674.66,

when in fact that sum represented not only the principal balance, but also interest and other fees

which Defendant was attempting to collect from Plaintiff.

        9.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

               a.      Falsely representing the character, amount and/or legal status of the debt,

                       in violation of 15 U.S.C. § 1692e(2)(A); and




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               b.       By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with the FDCPA.

       10.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, CANDY FRYE, respectfully prays for a judgment against

Defendant as follows:

               a.       Statutory damages of $1,000.00 for each violation of the FDCPA;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.

                                              COUNT II

          (Violation of the North Carolina Prohibited Practices by Collection Agencies

                    Engaged in the Collection of Debts from Consumers Statute)

       11.     Plaintiff hereby adopts, re-alleges and incorporates by reference all allegations set

forth above as though fully rewritten here.

       12.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

North Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts

from Consumers Statute in one or more of the following ways:

               a.       Falsely representing the character, amount and/or legal status of the debt,

                        in violation of N.C. Gen. Stat. § 58-70-110(4); and

               b.       By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with North Carolina law.




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       13.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, CANDY FRYE, respectfully prays for a judgment against

Defendant as follows:

               a.       Statutory damages of $4,000.00 for each violation of the North Carolina

                        Prohibited Practices by Collection Agencies Engaged in the Collection of

                        Debts from Consumers Statute;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.


                                         JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of her claims in this action.



                                                       Respectfully Submitted,

                                                       /s/ M. Lynette Hartsell
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